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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

PAUL BROGAN                                 §
                                            §
v.                                          §      CIVIL ACTION NO. 4-23-CV-04292
                                            §
SELENE FINANCE, LP                          §

                                 NOTICE OF SETTLEMENT


       Paul Brogan and Selene Finance, LP(collectively the “Parties”) announce to the Court

that all matters between the parties have been resolved. Settlement and dismissal documents are

being drafted and circulated among the parties and a Stipulation and Order of Dismissal will be

filed with the Court within 45 days.

Respectfully submitted on April 15, 2024.



                                            Respectfully submitted,

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